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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


MOHAMMED AL-QAHTANI,

       Petitioner,
                                                   Case No. 05-CV-1971 (RMC)
       v.

BARACK H. OBAMA, et al.,

       Respondents.


                                    NOTICE OF FILING

       Please take notice that on this date Petitioner caused to be filed ex parte a Motion for

Leave to File Status Report Ex Parte, together with an ex parte Status Report. The Status Report

and Motion for Leave were filed ex parte under seal pursuant to 18 U.S.C. § 3006a(e)(1).

Date: October 2, 2015

Respectfully submitted,

______/s/Shayana Kadidal___________
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